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EXHIBIT 1
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IN THE UNITED STATES DISTRICT COURT
FOR WESTERN DISTRICT OF VIRGINIA
CHARLOTTESVILLE DIVISION
DR. ROBERT W. MALONE
Plaintiff

Vv. Case Number: 3:22-cv-63
PETER R. BREGGIN, MD.
GINGER ROSS BREGGIN,
AMERICA OUT LOUD,
DR. JANE RUBY
And
RED VOICE MEDIA

Defendants.

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JOINT DECLARATION OF DEFENDANTS DR. PETER R. BREGGIN AND GINGER
R. BREGGIN IN SUPPORT OF THEIR MOTION TO DISMISS FOR LACK OF
PERSONAL JURISDICTION

We, Dr. Peter R. Breggin and Ginger R. Breggin jointly declare as follows:

1. We are both over the age of eighteen years of age and we are competent to make the
following declaration as we both possess the same personal knowledge of the facts contained
below.

2. We have been residents of the State of New York since November 2002.

3. We do not live in Virginia, and we neither own a business nor transact business in the
Commonwealth of Virginia. We have not solicited business in Virginia, and we have no physical
presence in Virginia, including but not limited to not having physical offices, bank accounts, real

or personal property, or employees in the state, nor do we have any specific commerce emanating
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from (or specifically directed towards) Virginia. We have no contracts existing, either executed
in and/or to be performed in Virginia. We owned a vacation lake house at Lake Anna until 2003,
but never resided there. Dr. Breggin had medical license privileges in Virginia until 2002, but
never practiced medicine in the state, nor treated any patients in Virginia.

4. Peter R. Breggin, MD is a Harvard-trained psychiatrist and former full-time Consultant at
NIMH. He is known as “The Conscience of Psychiatry” for his many decades of successful efforts
to reform the mental health field. He is the author of two dozen medical, scientific, and best-selling
popular books. Ginger Ross Breggin has partnered since 1984 with Peter as a writer, editor,
researcher, administrator, advisor and communicator with the outside world. She is an award-
winning photographer and has a background in public relations and investigative journalism. Over
several decades, Dr. Breggin has appeared as a medical and psychiatric expert on most major TV
news and feature shows such as Oprah (six times), Larry King Live (many times), 60 Minutes,
20/20, Nightline, Frontline, morning and evening news shows, and many others. His work has
been covered in most if not all the major print media, including The New York Times, The
Washington Post, The Wall Street Journal, Los Angeles Times, Time, and Newsweek, as well as
many European publications.

For many years, Dr. Breggin has had his own weekly radio/TV show, interviewing guests in
broad fields of psychiatry, psychology, medicine, and human freedom. Their own media is now
limited to a weekly radio show that they both host on America Out Loud and replays on numerous
other outlets, including www.prn.live. The Breggins do not operate America Out Loud.

The Breggins have an internet newsletter run by Ginger, “Breggin Alerts,” which has more
than 40,000 subscribers worldwide. Several of Dr. Breggin’s videos had been downloaded from

YouTube in the hundreds of thousands, with one approaching one million views. They have social
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media accounts on Telegram, Twitter, FaceBook, Instagram and Substack and other social media
platforms. While Dr. Breggin continues to see patients, he also frequently appears on radio and
TV and, with Ginger, he writes blogs and makes individual videos. Ginger acts as researcher,
coauthor, editor, producer, and contact person for professionals around the world. Ginger Breggin,
along with Peter, is an invited member of several international medical, scientific and professional
groups devoted to COVID-19 issues, including “The C-19 Group” cofounded by Peter
McCullough MD, MPH, as well as others in Europe and South Africa. And they are the authors
of more than 20 books with Ginger Breggin as coauthor of several, including a recent best-seller
titled COVID-19 and the Global Predators: We Are the Prey, which examines the politics and
science of the pandemic, the shutdowns, and the vaccine development during the global crisis.

5. We do not know how many listeners, followers, subscribers that we have in Virginia, as we
do not target nor track Virginians separate from our worldwide audience. Our publications are
specifically intended for consumption by a national and international audience from wherever that
audience is located. We do not target our publications, including but not limited to our books
specifically towards a Virginia audience, nor do we target any advertisement for the sale of our
publications in Virginia or to a Virginia audience. Our website, www.breggin.com is not operated
in Virginia, nor is it hosted on any computer server located in Virginia. None of the statements at
issue in this case that are attributed to us were directed at a Virginia audience and did not address
issues that were only relevant to Virginia. We have never employed a third-party advertising
company for our websites and on-line publications to target Virginians with their advertising, nor
have we profited from the collection of website visitor data for sale to third parties.

6. We both suffer from significant health issues that limit our travel out of state. Since we

have no business in Virginia, and because we conduct all of our business in New York, we do
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not travel to Virginia. We have not taken any purposeful action to avail ourselves to the laws of
the Commonwealth of Virginia and believe that having to defend a lawsuit in Virginia would
result in undue hardship. Dr. Breggin is 87 years old. Since 2019, he has been formally instructed
by his physicians to stop traveling, especially in stressful circumstances. This followed two
occasions in 2019 while testifyimg on the witness stand as a medical expert when he had medical
events that caused the judges to intervene and to show concem. He then had a more lengthy
serious event for which he was hospitalized shortly after traveling. Dr. Breggin has not traveled
for any reason since 2019 and continues to give public and professional presentations, and to
testify in court, remotely from his home office. He had no such repeated events since he stopped
traveling. We have attached to this Declaration letters from our physicians regarding our lack of
ability to travel out of state.

We hereby declare under the penalty of perjury that this declaration is true and correct.

Executed this BP ey of August, 2023 in Z + @ ce New York.

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Dr. Peter R. Breggin, MD Ginger R. Breggin

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BRIAN S. MARINO, DO FACC
Cayuga Medical Associates, P.C.

2432 N. Triphammer Rd
Ithaca, NY 14850-1014
607-272-0460

Peter Breggin
206A Dryden Road Pmb 112
Ithaca, NY 14850

Excuse Slip
Date: June:22, 2023
To Whom It May Concern:
Or. Breggin is under my cardiac care. He has been under medical orders not to travel since 2019. He

was hospitalized earlier this year for 5 days with covid related hypoxic respiratory failure for which he has
not yet fully recovered. Travel restrictions are to remain in place.

THe ot Meri: D0

Brian Marino, DO
Electronically signed by Brian S. Marino, DO FACC on 06/22/2023 at 12:40 pm
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BRIAN S. MARINO, DO FACC

Cayuga Medical Associates, P.C.
2432 N. Triphammer Rd
ithaca, NY 14850-1014
607-272-0460

Virginia R. Breggin

206 A DRYDEN RD PMB 112 (mail
7 Pleasant Grove Ln. (physical
Ithaca, NY 14850

Excuse Slip
Date: June 22, 2023

To Whom It May Concern:

Virginia R. Breggin is under my cardiac care. She should not travel for outside of home region due to a
chronic cardiac condition with recent acute exacerbation requiring hospitalization.

Tae t+ Moin 00

Brian Marino, DO
Electronically signed by Brian S. Marino, DO FACC on 06/22/2023 at 12:36 pm
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2 Smith Allergy & Asthma
SPECIALISTS

April 14, 2023

RE: Peter Breggin
DOB: 5/11/1936

Toa Whom It May Concern:

Peter Breggin was recently hospitalized with COVID pneumonia. He is being followed by me for post-
COVID pneumonia. | anticipate a minimum three-month recovery period.

Sincerely, wo

\ ( COS A OD
Christopher A. Smith, MD

Board-certified American Board of Allergy and Immunology
Board-certified American Board of Pediatrics
Clinical Assistant Professor of Pediatrics, Weill Cornell Medical College

CAS: pcs

CHRISTOPHER A. SMITH. M.D.

Smith Allergy & Asthma Specialists of Central New York | 2430 North Triphammer Raad, Suite B, Ithaca, NY 14850 | 607.379.6072 | fax 607.684.6120
www.omithAllergy.com
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BRIAN S. MARINO, DO FACC
Cayuga Medical Associates, P.C.
2432 N, Triphammer RD
Ithaca, NY 14850-1014
607-272-0460

Peter Breggin
101 E State St Unit 112
Ithaca, NY 14850

Date: February 24, 2020
Teo Whom If May Concern:

Peter Greggin ls: under my care. Halse medically unable to travel, Please call our office with questions er
concerns:

Tow wh Maim 0

Brian Marino, DO
Electronically signed by Brian &. Marino, OG FACC on 02/24/2020 at 11:08 am.

